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  14
                            UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF CALIFORNIA
  15
  16
       YI FAN CHEN, and FRONTLINE               No. 3:16-cv-03044-L-MDD
  17   GLOBAL TRADING PTE. LTD.,
       Individually and on Behalf of All
  18
       Others Similarly Situated,               MEMORANDUM OF POINTS
  19                                            AND AUTHORITIES IN
                                 Plaintiffs,    SUPPORT OF MOTION OF
  20
                 v.                             NATISSISA ENTERPRISES LTD.
  21                                            FOR CONSOLIDATION OF THE
       ILLUMINA, INC., FRANCIS A.               ACTIONS, APPOINTMENT AS
  22
       DESOUZA, and MARC A.                     LEAD PLAINTIFF, AND
  23   STAPLEY,                                 APPROVAL OF SELECTION OF
                                                COUNSEL
  24
                                  Defendants.
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   1   JAMES MCLEOD, Individually and on
       Behalf of All Others Similarly Situated,   No. 3:17-cv-00053-L-MDD
   2
   3                               Plaintiff,     Date: March 20, 2017
               vs.
   4                                              NO ORAL ARGUMENT
   5   ILLUMINA, INC., FRANCIS A.                 PURSUANT TO LOCAL RULES
       DESOUZA, and MARC A. STAPLEY,
   6                                              Courtroom: 5B (5th Fl. – Schwartz)
   7                               Defendants.    Judge: M. James Lorenz

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   1                           PRELIMINARY STATEMENT
   2         Presently pending before the Court are two securities class action lawsuits
   3   (the “Actions”) brought on behalf of persons and entities that acquired Illumina,
   4   Inc. (“Illumina” or the “Company”) securities between July 26, 2016, and October
   5   10, 2016, inclusive (“Class Period”).1 Plaintiff in the Actions allege violations of
   6   the Securities Exchange Act of 1934 (the “Exchange Act”) against: the Company,
   7   Francies A. deSouza (“deSouza”), the Company’s President and Chief Executive
   8   Officer, and Marc A. Stapley (“Stapley”), the Company’s Executive Vice
   9   President, Chief Administrative Officer and Chief Financial Officer.2
  10         Movant Natissisa Enterprises Ltd. (“Movant”) lost approximately
  11   $995,212.56 as a result of the alleged fraud during the Class Period. Movant
  12   respectfully submits this memorandum of law in support of its motion for (a) the
  13   consolidation of the actions; (b) appointment as Lead Plaintiff pursuant to the
  14   Private Securities Litigation Reform Act of 1995, as amended (the “PSLRA”), 15
  15   U.S.C. § 78u-4(a) 3)(B) and (c) for approval of its selection of Levi & Korsinsky
  16   LLP (“Levi & Korsinsky”) as Lead Counsel.
  17         The PSLRA provides for the Court to appoint as lead plaintiff the movant
  18   that has the largest financial interest in the litigation and have made a prima facie
  19   showing that it is an adequate class representative under Rule 23 of the Federal
  20   Rules of Civil Procedure. See generally In re Cavanaugh, 306 F.3d 726 (9th Cir.
  21
       1
  22         The two actions are entitled Chen v. Illumina, Inc., et al., 3:16-cv-03044-L-
  23   MDD (the “Chen Action”) and McLeod v. Illumina, Inc., et al., 3:17-cv-00053-L-
  24   MDD (the “McLeod Action”).
       2
  25         The Actions allege violations under Sections 10(b) and 20(a) of the
  26   Exchange Act, as well as Rule 10b-5 promulgated thereunder.
                    MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
  27   MOTION OF KAKTRALE AUSTIN FOR CONSOLIDATION OF THE ACTIONS, APPOINTMENT AS LEAD
                       PLAINTIFF, AND APPROVAL OF SELECTION OF COUNSEL
  28                   Case Nos. 3:15-CV-02700-JLS-NLS and 3:15-cv-02951-JLS-NLS
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   1   2002). Movant satisfies both requirements.
   2             Movant believes that it has the largest financial interest in the outcome of
   3   the case.3      As such, Movant meets the requirements of the PSLRA for
   4   appointment as Lead Plaintiff. Moreover, Movant satisfies the requirements of
   5   Rule 23 of the Federal Rules of Civil Procedure in that its claims are typical of the
   6   claims of the Class, and it will fairly and adequately represent the interests of the
   7   Class.4
   8         Accordingly, Movant respectfully submits that it should be appointed lead
   9   plaintiff. Additionally, Movant’s selection of Levi & Korsinsky as Lead Counsel for
  10   plaintiff and the proposed class should be approved by this Court.
  11                                 STATEMENT OF FACTS
  12         Illumina purportedly provides sequencing and array-based solutions for
  13
  14
  15   3
             Movant’s certification identifying its transactions in Illumina securities, as
  16
       required by the PSLRA, as well as chart detailing its losses are attached to the
  17
       Declaration of Adam C. McCall, dated February 14, 2016 (“McCall Decl.”), as
  18
       Exhibits 1 and 2, respectively.
  19
       4
             The Actions define the “Class” as “all persons and entities that acquired
  20
       Illumina securities between July 26, 2016, and October 10, 2016, inclusive (the
  21
       “Class Period”) and who were damaged thereby (the “Class”).              The Actions
  22
       exclude from the Class the Defendants, officer and directors of the Company,
  23
       members of their immediate families and their legal representatives, heirs,
  24
       successors or assigns and any entity in which Defendants have or had a
  25
       controlling interest.
  26
  27                 MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
             MOTION OF NATISSISA ENTERPRISES LTD. FOR CONSOLIDATION OF THE ACTIONS,
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   1   genetic analysis. ¶ 2.5 The Company claims that its clients include genomic
   2   research centers, academic institutions, government laboratories, hospitals,
   3   pharmaceutical, biotechnology, agrigenomics, commercial molecular diagnostic
   4   laboratories, and consumer genomics companies. Id.
   5         At the beginning of the Class Period, on July 26, 2016, Illumina issued a
   6   press release entitled “Illumina Reports Financial Results for Second Quarter of
   7   Fiscal Year 2016.” ¶ 19. On August 2, 2016, Illumina filed its Quarterly Report
   8   with the SEC on Form 10-Q for the fiscal quarter ended July 3, 2016. ¶ 18. The
   9   Company’s Form 10-Q was signed by Defendant Stapley, and reaffirmed the
  10   Company’s financial results publicized in the press release issued on July 26,
  11   2016. Id.
  12         On October 10, 2016, Illumina distributed a press release entitled “Illumina
  13   Announces Preliminary Revenue for Third Quarter of Fiscal Year 2016.” ¶ 22.
  14   Therein, the Company declared estimated third quarter revenue of approximately
  15   $607 million, which was lower than the Company’s third quarter revenue
  16   guidance of $625 million to $630 million. Id.        The Company attributed the
  17   shortfall to “larger than anticipated year-over-year decline in high throughput
  18   sequencing instruments.” Id.    The Company also proclaimed that it expected
  19   fourth quarter revenue to be flat to slightly up sequentially. Id. With this news,
  20   Illumina’s stock price fell $45.86 per share, or 24.8%, to close at $138.99 per
  21   share on October 11, 2016, on remarkably heavy trading volume. ¶ 23.
  22
       5
             Citations to “¶ __” are to paragraphs of the Class Action Complaint for
  23
       Violations of the Federal Securities Laws (the “Complaint”) filed in the Chen
  24
       Action. The facts set forth in the Complaint are incorporated herein by reference.
  25
  26
  27                 MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
             MOTION OF NATISSISA ENTERPRISES LTD. FOR CONSOLIDATION OF THE ACTIONS,
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   1            Thereafter, on November 1, 2016, Illumina announced its third quarter 2016
   2   revenue of $607 million and reiterated that the Company anticipated fourth
   3   quarter revenue to be flat to slightly up. ¶ 24. On an investor conference call held
   4   the same day, Defendant deSouza said that the third quarter shortfall was partly
   5   attributable to “lower-than-anticipated HiSeq 2500 and 4000 orders, which we
   6   believe was driven by legacy HiSeq customers favoring the HiSeq X and NextSeq
   7   platforms.” Id. deSouza also stated that “some high throughput customers have
   8   been adopting NextSeq, given its malleable workflow, which enables batching
   9   fewer samples and attractive operating costs. Id. deSouza further emphasized that
  10   the Company was taking steps to improve its projections, stating “to better
  11   identify trends like this earlier, we have initiated a global forecast improvement
  12   project, which I have asked Marc to lead, that will enhance both our visibility and
  13   forecast accuracy.” Id. On the same call, Defendant Stapley backed up deSouza’s
  14   remarks on forecasting accuracy by stating “[w]e have already started the initial
  15   phase, which is expected to run until mid-December, and we’ll identify key
  16   opportunities for improvement including any immediate changes that we can
  17   make to enhance our visibility Id.
  18                                      ARGUMENT
  19       I.         THE RELATED ACTIONS SHOULD BE CONSOLIDATED
  20            Pursuant to the PSLRA, the Court should first rule on motions to
  21   consolidate before addressing the lead plaintiff/lead counsel issues. See 15 U.S.C.
  22   § 78u-4(a)(3)(B)(ii).     Consolidation is appropriate where there are actions
  23   involving common questions of law or fact. See Fed. R. Civ. P. 42(a).
  24            The actions pending before this Court are suited for consolidation. The
  25   class action complaints are all brought by purchasers of Illumina securities. The
  26   complaints allege identical class periods and contain nearly identical allegations.
  27                 MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
             MOTION OF NATISSISA ENTERPRISES LTD. FOR CONSOLIDATION OF THE ACTIONS,
  28         APPOINTMENT AS LEAD PLAINTIFF, AND APPROVAL OF SELECTION OF COUNSEL
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   1             “Courts have recognized that securities class actions are particularly suited
   2   to consolidation to help expedite pretrial proceedings, reduce case duplication,
   3   avoid the involvement of parties and witnesses in multiple proceedings, and
   4   minimize the expenditure of time and money.” Hufnagle v. Rino Int’l Corp., No.
   5   CV 10-8695-VBF(VBKx), 2011 U.S. Dist. LEXIS 19771, at *6-7 (C.D. Cal. Feb.
   6   14, 2011). Although the Actions are not identical, their common factual and legal
   7   bases, similar class periods, nearly identical legal claims, and identical
   8   Defendants, warrant consolidation of the Actions.
   9       II.         THE COURT SHOULD APPOINT MOVANT AS LEAD
  10                   PLAINTIFF
  11                   1.    The Procedure Required by the PSLRA
  12             Once the Court decides the consolidation motion, the PSLRA mandates that
  13   the Court decide the lead plaintiff issue “[a]s soon as practicable.” 15 U.S.C. §
  14   78u-4(a)(3)(B)(ii). The PSLRA establishes the procedure for appointment of the
  15   lead plaintiff in “each private action arising under [the Exchange Act] that is
  16   brought as a plaintiff class action pursuant to the Federal Rules of Civil
  17   Procedure.” 15 U.S.C. § 78u-4(a) and (a)(3)(B).
  18             The plaintiff who files the initial action must publish notice to the class
  19   within 20 days after filing the action, informing class members of their right to file
  20   a motion for appointment of lead plaintiff. 15 U.S.C. § 78u-4(a)(3)(B)(ii). The
  21   PSLRA requires the Court to consider within 90 days all motions filed within 60
  22   days after publication of that notice by any person or group of persons who are
  23   members of the proposed class to be appointed lead plaintiff. 15 U.S.C. §§ 78u-
  24   (a)(3)(A) (i)(II) and (a)(3)(B)(i).
  25             The PSLRA provides a presumption that the most “adequate plaintiff” to
  26   serve as lead plaintiff is the “person or group of persons” that:
  27                 MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
             MOTION OF NATISSISA ENTERPRISES LTD. FOR CONSOLIDATION OF THE ACTIONS,
  28         APPOINTMENT AS LEAD PLAINTIFF, AND APPROVAL OF SELECTION OF COUNSEL
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   1                (aa)   has either filed the complaint or made a motion in
   2                       response to a notice;
   3                (bb) in the determination of the court, has the largest
   4                       financial interest in the relief sought by the class; and
   5                (cc)   otherwise satisfies the requirements of Rule 23 of the
   6                       Federal Rules of Civil Procedure.
   7   15 U.S.C. § 78u-4(a)(3)(B)(iii)(I). The presumption may be rebutted only upon
   8   proof by a class member that the presumptively most adequate plaintiff “will not
   9   fairly and adequately protect the interests of the class” or “is subject to unique
  10   defenses that render such plaintiff incapable of adequately representing the class.”
  11   15 U.S.C. § 78u-4(a)(3)(B)(iii)(II).
  12          As set forth below, Movant satisfies the foregoing criteria and is not aware
  13   of any unique defenses that defendants could raise against him.             Therefore,
  14   Movant is entitled to the presumption that it is the most adequate plaintiff to
  15   represent the Class and, as a result, should be appointed lead plaintiff in the
  16   Action.
  17                       a.    Movant Is Willing to Serve As Class Representative
  18          On December 16, 2016, counsel in the first-filed action caused a notice (the
  19   “Notice”) to be published pursuant to Section 21D(a)(3)(A)(i), which announced
  20   that a securities class action had been filed against Illumina and certain of its
  21   officers and directors, and which advised putative class members that they had
  22   sixty days from the date of the Notice to file a motion to seek appointment as a
  23   lead plaintiff in the action.6 Movant has reviewed a complaint filed in the pending
  24   Actions and has timely filed its motion pursuant to the Notice.
  25
       6
           The Chen Action was filed in this Court on December 16, 2015. On that same
  26
       day, the Notice was published over Business Wire, a widely-circulated national
  27                  MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
              MOTION OF NATISSISA ENTERPRISES LTD. FOR CONSOLIDATION OF THE ACTIONS,
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   1                       b.   Movant Has the Requisite Financial Interest in the
   2                       Relief Sought by the Class
   3         According to 15 U.S.C § 78u-4(a)(3)(B)(iii), the Court shall appoint as
   4   Lead Plaintiff the movant or movants with the largest financial loss in the relief
   5   sought by the action. As demonstrated herein, Movant has the largest known
   6   financial interest in the relief sought by the Class. See McCall Decl., Ex. 2. The
   7   movant who “has the largest financial interest in this litigation and meets the
   8   adequate and typicality requirements of Rule 23 . . . is presumptively entitled to
   9   lead plaintiff status.” Maiden v. Merge Techs., Inc., No. 06-cv-349, 2006 U.S.
  10   Dist. LEXIS 85635, at *13 (E.D. Wis. Nov. 21, 2006) (citing In re Cavanaugh,
  11   306 F.3d at 732).
  12         Under the PSLRA, damages are calculated based on (i) the difference
  13   between the purchase price paid for the shares and the average trading price of the
  14   shares during the 90 day period beginning on the date the information correcting
  15   the misstatement was disseminated, or (ii) the difference between the purchase
  16   price paid for the shares and the average trading price of the shares between the
  17   date when the misstatement was corrected and the date on which the plaintiff sold
  18   its shares, if it sold its shares before the end of the 90-day period. 15 U.S.C. §
  19   78u-4(e).
  20         During the Class Period, Movant purchased Illumina securities in reliance
  21   upon the materially false and misleading statements issued by defendants, and
  22   were injured thereby.     Movant suffered a substantial loss of approximately
  23   $995,212.56. See McCall Decl. Ex. 2. Movant thus has a significant financial
  24   interest in the outcome of this case. To the best of its knowledge, there are no
  25
  26
       business-oriented wire service. See McCall Decl. Ex. 3.
  27                 MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
             MOTION OF NATISSISA ENTERPRISES LTD. FOR CONSOLIDATION OF THE ACTIONS,
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   1   other applicants who have sought, or are seeking, appointment as lead plaintiff
   2   that have a larger financial interest and also satisfy Rule 23.
   3                2.     Movant Satisfies the Requirements of Rule 23(a) of the
   4                       Federal Rules of Civil Procedure
   5         According to 15 U.S.C. §78u-4(a)(3)(B), in addition to possessing the
   6   largest financial interest in the outcome of the litigation, the lead plaintiff must
   7   also “otherwise satisf[y] the requirements of Rule 23 of the Federal Rules of Civil
   8   Procedure.” Rule 23(a) provides that a party may serve as a class representative if
   9   the following four requirements are satisfied:
  10         (1) the class is so numerous that joinder of all members is
  11         impracticable; (2) there are questions of law or fact common to the
  12         class; (3) the claims or defenses of the representative parties are
  13         typical of the claims or defenses of the class; and (4) the
  14         representative parties will fairly and adequately protect the interests of
  15         the class.
  16   Fed. R. Civ. P. 23(a).
  17         Of the four prerequisites to class certification outlined in Fed. R. Civ. P. 23,
  18   only two – typicality and adequacy – are recognized as appropriate for
  19   consideration at this stage.      See Cavanaugh, 306 F.3d at 730, n.5, 732.
  20   Furthermore, only a “preliminary showing” of typicality and adequacy is required
  21   at this stage. See Takeda v. Turbodyne Techs., Inc., 67 F. Supp. 2d. 1129, 1136
  22   (C.D. Cal. 1999). Consequently, in deciding a motion to serve as Lead Plaintiff,
  23   the Court should limit its inquiry to the typicality and adequacy prongs of Rule
  24   23(a), and defer examination of the remaining requirements until the Lead
  25   Plaintiffs move for class certification. See Cavanaugh, 306 F.3d at 732; see also
  26   Haung v. Acterna Corp., 220 F.R.D. 255, 259 (D. Md. 2004); In re Milestone Sci.
  27                 MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
             MOTION OF NATISSISA ENTERPRISES LTD. FOR CONSOLIDATION OF THE ACTIONS,
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   1   Sec. Litig., 183 F.R.D. 404, 414 (D.N.J. 1998).
   2           As detailed below, Movant satisfies both the typicality and adequacy
   3   requirements of Fed. R. Civ. P. 23, thereby justifying its appointment as Lead
   4   Plaintiff.
   5                3.     Movant’s Claims are Typical of the Claims of all the Class
   6                       Members
   7          Under Rule 23(a)(3), typicality exists where “the claims . . . of the
   8   representative parties” are “typical of the claims . . . of the class.” Movant plainly
   9   meets the typicality requirement of Rule 23 because: (i) it suffered the same
  10   injuries as the absent class members; (ii) it suffered as a result of the same course
  11   of conduct by Defendants; and (iii) its claims are based on the same legal issues.
  12   See Ferrari v. Gisch, 225 F.R.D. 599, 607 (C.D. Cal. 2004); see also Hanlon v.
  13   Chrysler Corp., 150 F.3d 1011, 1019 (9th Cir. 1998); Robidoux v. Celani, 987
  14   F.2d 931, 936-37 (2d Cir. 1993); In re Oxford Health Plans, Inc. Sec. Litig., 182
  15   F.R.D. 42, 50 (S.D.N.Y. 1998) (typicality inquiry analyzes whether plaintiff’s
  16   claims “arise from the same conduct from which the other class members’ claims
  17   and injuries arise”).    Rule 23 does not require that the named plaintiff be
  18   identically situated with all class members. It is enough if their situations share a
  19   common issue of law or fact. See Weiss v. York Hosp., 745 F.2d 786, 808-09 (3d
  20   Cir. 1984). A finding of commonality frequently supports a finding of typicality.
  21   See Gen. Tel. Co. of the Southwest v. Falcon, 457 U.S. 147, 158 n.13 (1982)
  22   (noting that the typicality and commonality requirements tend to merge).
  23          In this case, the typicality requirement is met because Movant’s claims are
  24   identical to, and neither compete nor conflict with the claims of the other Class
  25   members.     Movant, like the other members of the Class, acquired Illumina
  26   securities during the Class Period at prices artificially inflated by Defendants’
  27                  MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
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  28          APPOINTMENT AS LEAD PLAINTIFF, AND APPROVAL OF SELECTION OF COUNSEL
                          Case Nos. 3:16-cv-03044-L-MDD and 3:17-cv-00053-L-MDD
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   1   materially false and misleading statements, and were damaged thereby. Thus, its
   2   claims are typical, if not identical, to those of the other members of the Class
   3   because Movant suffered losses similar to those of other Class members and its
   4   losses result from Defendants’ common course of wrongful conduct.
   5   Accordingly, Movant satisfies the typicality requirement of Rule 23(a)(3). See
   6   Weiss, 745 F.2d at 809; see also In re Drexel Burnham Lambert Group, 960 F.2d
   7   285, 291 (2d Cir. 1992).
   8                4.    Movant will Adequately Represent the Class
   9         Moreover, Movant is an adequate representative for the Class. Under Rule
  10   23(a)(4), the representative party must “fairly and adequately protect the interests
  11   of the class.” The PSLRA directs the Court to limit its inquiry regarding the
  12   adequacy of the movant to whether the interests of the movant are clearly aligned
  13   with the members of the putative Class and whether there is evidence of any
  14   antagonism between the interests of the movant and other members of the Class.
  15   15 U.S.C. §78u-4(a)(3)(B); see Crawford v. Honig, 37 F.3d 485, 487 (9th Cir.
  16   1994) (citation omitted).
  17         Movant’s interests are clearly aligned with those of the other members of
  18   the Class.   Not only is there no evidence of antagonism between Movant’s
  19   interests and those of the Class, but Movant has a significant and compelling
  20   interest in prosecuting the Actions based on the large financial losses it has
  21   suffered as a result of the wrongful conduct alleged in the Actions.           This
  22   motivation, combined with Movant’s identical interest with the members of the
  23   Class, demonstrates that Movant will vigorously pursue the interests of the Class.
  24   In addition, Movant has retained counsel highly experienced in prosecuting
  25   securities class actions, and will submit its choice to the Court for approval
  26   pursuant to 15 U.S.C. § 78u-4(a)(3)(B) (v). Therefore, Movant will prosecute the
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   1   Actions vigorously on behalf of the Class.
   2             Accordingly, at this stage of the proceedings, Movant has made the
   3   preliminary showing necessary to satisfy the typicality and adequacy requirements
   4   of Rule 23 and, therefore, satisfies 15 U.S.C. § 78u-4(a)(3)(B)(iii)(I)(cc). In
   5   addition, because Movant has sustained the largest amount of losses from
   6   Defendants’ alleged wrongdoing, it is, therefore, the presumptive lead plaintiff in
   7   accordance with 15 U.S.C. § 78u-4(3)(B)(iii)(I), and should be appointed as such
   8   to lead these Actions.
   9      III.         MOVANT CHOICE OF COUNSEL SHOULD BE APPROVED
  10             The PSLRA vests authority in the lead plaintiff to select and retain lead
  11   counsel, subject to Court approval. 15 U.S.C. § 78u-4(a)(3)(B)(v). The Court
  12   should interfere with the lead plaintiff’s selection of counsel only when necessary
  13   “to protect the interests of the class.” 15 U.S.C. § 78u-4(a)(3)(B)(iii)(II)(aa).
  14             Movant has selected and retained Levi & Korsinsky as the proposed Lead
  15   Counsel for the Class.        The members of Levi & Korsinsky have extensive
  16   experience in successfully prosecuting complex securities class actions such as
  17   this one, and are well-qualified to represent the Class. See McCall Decl. Ex. 4
  18   (the firm resume of Levi & Korsinsky).
  19                                       CONCLUSION
  20             For the foregoing reasons, Movant respectfully requests that this Court: (1)
  21   consolidate the Actions; (2) appoint Movant as Lead Plaintiff for the Class in the
  22   Actions; and (3) approve Levi & Korsinsky as Lead Counsel for the Class.
  23
  24   Dated: February 14, 2017           Respectfully submitted,
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